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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61872-AHS

  ALAN DERSHOWITZ,

            Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  ______________________________/

                    UNOPPOSED MOTION FOR ENTRY OF ORDER SEALING
                      DEFENDANT’S MOTION FOR CLARIFICATION &
                      REQUEST FOR EXPEDITED BRIEFING SCHEDULE

            Defendant, CABLE NEWS NETWORK, INC., pursuant to Local Rule 5.4. respectfully

  files its Unopposed Motion for Entry of an Order Sealing Defendant’s Motion for Clarification

  and Request for Expedited Briefing Schedule and states as follows:

                                Procedural History & Request to Seal

            Following the parties’ hearing on competing Motions to Compel on April 21, 2022, the

  parties requested [D.E. 106] and the Court granted [D.E. 107], a joint request to seal the transcript

  from such hearing, pending redactions from the parties.

            CNN plans to file a Motion requesting that the Court clarify a portion the Court’s Order

  provided during the April 21, 2022 hearing (“Motion for Clarification”), and such request includes

  portions and citations to the transcript which has been sealed because it is subject to pending

  redactions from the parties. Based upon the Court’s prior ruling, Plaintiff, ALAN DERSHOWITZ,

  has no objection to CNN’s request that the Court seal CNN’s Motion for Clarification upon its

  filing.
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                             Legal Standard for Sealing Court Records

         The Parties are mindful of the general policy favoring open and public viewing of court

  records as provided in Local Rule 5.4. See also Romero v. Drummond Company, Inc., 480 F.3d

  1234, 1246 (11th Cir. 2007). Notwithstanding, the public’s right of access to judicial records may

  be overcome, however, by a showing of good cause by the party seeking protection. Chicago

  Tribune Co. v. Bridgestone/Firestone, Inc., 263 F. 3d 1304, 1313 (11th Cir. 2001). Good cause

  “generally signifies a sound basis or legitimate need to take judicial action, (See In re Alexander

  Grant & Co., Litig., 820 F. 2d 352, 355 (11th Cir. 1987), and if good cause is shown, the Court

  must then balance the interest in obtaining access to the information against the interest in keeping

  the information confidential. Chicago Tribune Co., 263 F. 3d at 1313. In balancing these interests:

         courts consider, among other factors, whether allowing access would impair court
         functions or harm legitimate privacy interests, the degree and likelihood of injury
         if made public, and reliability of the information, whether there will be an
         opportunity to respond to the information, whether the information concerns public
         officials or public concerns, and the availability of a less onerous alternative to
         sealing the documents.” Id. at 1246.

         Good cause is established, as here, by the moving parties when disclosure may cause a

  clearly defined and serious injury. NXP B.V. v. Research in Motion, Ltd., 2013 WL 4402833, *2

  (M.D. Fla. August 15, 2013) (joint motion by the parties to seal documents granted because

  allowing public access could violate a party’s and non-party’s legitimate and private interests).



                             Request for Expedited Briefing Schedule

         The deadline to file an objection to the Magistrate’s Report and Recommendation

  following the April 21, 2022 hearing as well as the Court’s deadline for compliance with the

  Magistrate’s Report and Recommendation is May 9, 2022. Accordingly, CNN respectfully
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  requests that should the Court grant this motion, it also provide for an expedited briefing schedule

  for CNN”s Motion for Clarification or immediately rule upon same.

         WHEREFORE, Defendant Cable News Network, Inc. hereby requests that this Court grant

  the relief requested herein and grant any further relief as is just, equitable, and proper.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this 4th day of May, 2022 to Brian M. Rodier, Esq.,

  bmrodier@rodierlegal.com; Rodier & Rodier, P.A., Counsel for Plaintiff, 400 N. Federal

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